                Case: 3:21-mj-00060-KAJ Doc #: 1 Filed: 02/17/21 Page: 1 of 18 PAGEID #: 1
AO 106A (08/18) Application for a Warrant by Telephone or Other Reliable Electronic Means


                                      UNITED STATES DISTRICT COURT
                                                                 for the
                                                        SouthernDistrict
                                                     __________ Districtof
                                                                         of__________
                                                                            Ohio
                                                                                                                                    2/17/21
              In the Matter of the Search of                                 )
         (Briefly describe the property to be searched                       )
          or identify the person by name and address)                        )              Case No.
           THE RESIDENCE LOCATED AT:                                         )                3:21-mj-60
      319 E. MAPLEWOOD AVE., DAYTON, OHIO                                    )
                                                                             )              Kimberly Jolson

    APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):
 SEE ATTACHMENT A

located in the             Southern               District of                    Ohio                   , there is now concealed (identify the
person or describe the property to be seized):
 SEE ATTACHMENT B


          The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
               u evidence of a crime;
               u contraband, fruits of crime, or other items illegally possessed;
                 u property designed for use, intended for use, or used in committing a crime;
                 u a person to be arrested or a person who is unlawfully restrained.
          The search is related to a violation of:
             Code Section                                                               Offense Description
        21 USC §§ 841(a)(1) and 846               Possession with the intent to distribute and to distribute a controlled substance
                                                  and conspiracy to commit the same.


          The application is based on these facts:

         SEE ATTACHED AFFIDAVIT

           u Continued on the attached sheet.
           u Delayed notice of        days (give exact ending date if more than 30 days:                                     ) is   requested under
             18 U.S.C. § 3103a, the basis of which is set forth on the attached hed sheet.


                                                                                                       Applicant’s signature
                                                                                                                          re
                                                                                                                          re

                                                                                                        SA David Ashley
                                                                                                       Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
                                                      (specify reliable electronic means).


Date:     February 17, 2021
                                                                                                         Judge’s signature

City and state: Columbus, Ohio                                                              Kimberly A. Jolson U.S. Magistrate Judge
                                                                                                       Printed name and title
     Case: 3:21-mj-00060-KAJ Doc #: 1 Filed: 02/17/21 Page: 2 of 18 PAGEID #: 2




                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF OHIO

IN THE MATTER OF THE SEARCH OF
iPhone with a White Back and Red Phone
Case with Cricket Sim Card                                           3:21-mj-60
89011503277364943214 CURRENTLY                           Case No. ____________________
LOCATED AT 3821 Colonel Glenn Hwy,
Beavercreek, Ohio 45324


             AFFIDAVIT IN SUPPORT OF AN APPLICATION UNDER RULE 41
                     FOR A WARRANT TO SEARCH AND SEIZE

        I, David Ashley, (hereinafter referred to as Affiant), being first duly sworn,

hereby depose and state as follows:

                                         INTRODUCTION

        1.         Your Affiant is an officer or employee of the United States Department of

Justice (DOJ), Drug Enforcement Administration (DEA), within the meaning of Section

878(a) of Title 21, United States Code, that is an officer who is empowered by law to conduct

investigations, make arrests, and seize property for violations of Title 18, United States Code and

Title 21, United States Code.

        2.         Affiant is a Special Agent (SA) for the DEA and has been so employed since

August 2009. During Affiant’s employment with the DEA, Affiant has been assigned to both the

Chicago Field Division (CFD) in Chicago, Illinois and the Dayton Resident Office (DRO)

in Dayton, Ohio.

        3.         Your Affiant has been involved in the investigation of various individuals and

organizations involved in the manufacturing, distribution, and use of controlled substances. Your

Affiant has conducted surveillance operations and has become familiar with the methods used by

individuals engaged in the manufacturing, trafficking, and use of controlled substances. Your

                                                     1
     Case: 3:21-mj-00060-KAJ Doc #: 1 Filed: 02/17/21 Page: 3 of 18 PAGEID #: 3




Affiant received specialized training at the DEA Training Academy in Quantico, Virginia in

regards to the identification of narcotic substances and the operation of drug trafficking

organizations.

                                    PURPOSE OF AFFIDAVIT

          4.      Affiant makes this affidavit in support of applications for search warrants at the

following residence – namely: 319 Maplewood Avenue, Dayton, Ohio, including any

outbuildings, garages, or curtilage at this location (hereinafter “Target Residence”).

          5.      As detailed more fully below, Affiant submits that there is probable cause to

believe that evidence of a crime as well as contraband, fruits of a crime or other items illegally

possessed in relation to the following offenses exist and can be found inside the Target Residence –

namely:

                 a.      Possession with Intent to Distribute Controlled Substances, in violation of

Title 21, United States Code, § 841; and

                 b.     Conspiracy to Possess with Intent to Distribute Controlled Substances, in

violation of Title 21, United States Code, § 846.

          6.      A list of specific items to be seized from the premises described above is attached

hereto as Attachment B, and Attachment B is incorporated herein by reference. Based on my

training and experience as well as the facts contained in the affidavit, Affiant believes that there is

probable cause to believe that the items listed in Attachment B will be found at the premises

described above. Affiant has not included every detail of the investigation, but only information

necessary to establish probable cause that evidence associated with above-described drug trafficking

offenses is located at Target Residence.




                                                       2
     Case: 3:21-mj-00060-KAJ Doc #: 1 Filed: 02/17/21 Page: 4 of 18 PAGEID #: 4




       7.       Affiant is participating in an investigation conducted by agents of the DEA

and other agencies concerning the methamphetamine trafficking activities of individuals in

the Dayton, Ohio area and elsewhere. The information contained in this affidavit comes

from a variety of sources that Affiant believes to be reliable, including:

               A.      Physical surveillance conducted by federal and local law enforcement
agents, the details of which have been reported to me either directly or indirectly;
               B.      Information developed from a defendant witness
               C.      Public records;
               D.      Trash Surveys;
               E.      Law enforcement databases
This affidavit does not contain all facts known to Affiant, only those necessary to establish

probable cause in support of the request of a search warrant for the Target Residence.



                                      PROBABLE CAUSE
                         Investigation Concerning Crawley and Williams

       8.       Affiant has been involved in an investigation into the drug trafficking activities

of Brandon WILLIAMS (“WILLIAMS”) and Robert CRAWLEY (“CRAWLEY”). Based on

the information below, investigators believe that WILLIAMS and CRAWLEY distribute

methamphetamine and other controlled substances in and around Dayton, Ohio.

       9.       Affiant has reviewed the criminal histories of WILLIAMS, and he has prior links

to the drug trade. For instance, WILLIAMS has prior state convictions for, among other things:

Falsification and Aggravated Trafficking of Drugs (2016); Possession of Drugs (2017); and

Possession of Marijuana (2020). CRAWLEY has prior contact with law enforcement, including

a 2014 arrest by Fairborn, Ohio police for Criminal Trespass and Obstruction of Official

Business.


                                                 3
    Case: 3:21-mj-00060-KAJ Doc #: 1 Filed: 02/17/21 Page: 5 of 18 PAGEID #: 5




       10.     Based on information from law enforcement from Warren County, Ohio, Affiant

learned that, during July 2020, police had contact with CRAWLEY at a Franklin, Ohio hotel

room where officers discovered methamphetamine. Specifically, while arresting another person

on an active warrant in the hotel room, officers also encountered CRAWLEY. While in the

room, officers observed in plain view on a microwave suspected methamphetamine. During the

arrest of another person, CRAWLEY asked if he could retrieve shoes and socks from his duffel

bag. Law enforcement officers stated that he would have to dump the contents of the bag on the

floor due to officer safety considerations. At that time, CRAWLEY emptied the contents of the

bag which resulted in a clear container of crystal-like substance being seen in the bag by law

enforcement. This suspected controlled substance was seized and a subsequent lab analysis

confirmed that the substance, in fact, was methamphetamine. Local police ultimately arrested

CRAWLEY for Drug Abuse (Bulk) and the matter remains pending in the Warren County, Ohio

Court of Common Pleas.

              11.     Based on information from local police, affiant learned that, in October

2020, WILLIAMS was riding a motorcycle in Xenia, Ohio when a marked Xenia Police

Department (XPD) unit attempted to stop him for a traffic violation. The XPD officer was

familiar with WILLIAMS and knew that WILILIAMS’ license was suspended. WILLIAMS

attempted to flee, but ultimately wrecked his motorcycle during the encounter. During the

ensuing encounter, XPD found WILLIAMS in possession of a backpack containing

approximately 300 grams of suspected methamphetamine; subsequent lab results confirmed the

substance as methamphetamine. WILLIAMS was arrested on drug charges and the case is

currently pending in Greene County, Ohio Court of Common Pleas. Additionally, affiant




                                                4
    Case: 3:21-mj-00060-KAJ Doc #: 1 Filed: 02/17/21 Page: 6 of 18 PAGEID #: 6




learned from an investigator at XPD that local law enforcement considers CRAWLEY and

WILLIAMS as close associates who traffic drugs together.

      12.     On December 10, 2020, your Affiant responded to 2829 Mall Park Dr.,

Miamisburg, Ohio at the request of Miamisburg Police Department (MPD). Based on

information from MPD, your Affiant learned the following information:

             a.      MPD performed a traffic stop of a rental car with Kentucky license

      plates after the driver made an improper lane change and crossed the yellow line

      of traffic. During the stop, the car’s driver (later identified as WILLIAMS) could

      not produce either a valid driver’s license or a rental agreement for the car. Upon

      gaining WILLIAMS’ identifiers and running that information in a law

      enforcement database, MPD learned that he had an active arrest warrant from

      Greene County, Ohio. MPD also received information that WILLIAMS was a

      target of a narcotics investigation in Xenia, Ohio as detailed above. WILLIAMS

      was removed from the vehicle and placed in a marked police unit pending a field

      interview by your Affiant and other DEA personnel.

             b.      The Miamisburg Police Department Officer then returned to the

      vehicle and spoke with CRAWLEY, who was seated as the front passenger.

      CRAWLEY could not produce a valid identification. While speaking with

      CRAWLEY, the MPD officer noticed an odor of marijuana coming from the

      vehicle. The officer asked CRAWLEY to exit the vehicle. When CRAWLEY

      did so, the officer saw a glass tube consistent with a bong in plain view in the

      pocket of the passenger door. The vehicle was going to be towed and an

      inventory search was conducted. The search of the vehicle revealed another



                                                5
Case: 3:21-mj-00060-KAJ Doc #: 1 Filed: 02/17/21 Page: 7 of 18 PAGEID #: 7




 baggie of suspect methamphetamine in the center console, four marijuana edible

 packages were found in the center console (retained by Miamisburg Police

 Department), three more edible packages were recovered from inside a backpack,

 located in the rear seat (retained by Miamisburg Police Department), and

 another edible package recovered from within the dash pocket (retained by

 Miamisburg Police Department). In the front right passenger door pocket was a

 bong and Narcan. Further discovered was a motorcycle intercom box with large

 bags of a crystalline substance. A search of the backpack also revealed a small

 baggie of multicolored pills which were suspected pressed methamphetamine. A

 field test was conducted of these exhibits which tested positive for

 methamphetamine. Also in the backpack were several charge card style

 cards which had Brandon WILLIAMS’ name on them and ziplock baggies with

 residue.

        c.      A Miamisburg Police Department Officer noticed that a man, who

 identified himself as the father of Brandon WILLIAMS, had walked to the scene.

 He stated that he was staying at the Extended Stay in room 216. The male was

 identified as Billy Joe RUSSELL. RUSSELL stated that WILLIAMS had taken

 the car when he had fallen asleep and did not have permission to use the vehicle.

 RUSSELL stated that the narcotics found in the car were not his. RUSSELL has a

 prior criminal history of domestic violence. RUSSELL then left the scene via

 foot. Affiant later learned that RUSSELL had been identified by a confidential

 source to a non-DEA law enforcement agency as an individual that had at some

 time sold narcotics to that confidential source.



                                           6
    Case: 3:21-mj-00060-KAJ Doc #: 1 Filed: 02/17/21 Page: 8 of 18 PAGEID #: 8




              d.      Affiant obtained personal identification from WILLIAMS.

       WILLIAMS stated that he wanted to cut straight to the point wherein WILLIAMS

       admitted to being a drug dealer and would be willing to cooperate with law

       enforcement for consideration. WILLIAMS stated he didn’t want to go to jail.

       This statement was made spontaneously by WILLIAMS while Affiant was

       collecting personal identifying information. Affiant, as witnessed by PO

       Sampson and SA Lauren Wagner, read Brandon WILLIAMS his Miranda

       Warnings via DEA Form 13. This was captured on police car video. The

       following is a summary of what was captured on police car video. WILLIAMS

       stated that the narcotics did not belong to him and it belonged to Rob

       CRAWLEY. WILLIAMS stated that he was willing to work with the DEA for

       consideration of reduction of sentencing of charges for CRAWLEY. WILLIAMS

       stated he has Kentucky sources and that he has Cartel connections in Dayton.

       WILLIAMS also stated that he can get hold of “boy” and “fetty”. WILLIAMS

       stated that he can get 20-30 pounds of methamphetamine for $5,500 a pound and

       5-10 pounds of fetty for an unknown price.

              e.      At that time, interviews were concluded. WILLIAMS was

       transferred to Xenia Police Department for the outstanding warrant. PO Sampson

       transported the evidence to the Miamisburg Police Department for processing.

             Investigation Concerning 319 Maplewood Avenue (Target Residence)

       13.     Investigators reviewed a Dayton Police Department report concerning an

overdose incident involving an individual identified herein by the initials J.W. According to the




                                                7
    Case: 3:21-mj-00060-KAJ Doc #: 1 Filed: 02/17/21 Page: 9 of 18 PAGEID #: 9




report, an ambulance was called to the Target Residence for a reported overdose of J.W. at that

location. A witness on the scene indicated that J.W. had taken “ice.”

       14.      CRAWLEY has previously provided the Target Residence as his residence to

law enforcement in past encounters.

       15.      In January 2021, Affiant and other investigators conducted surveillance at the

Target Residence. Investigators observed CRAWLEY come and go from the residence, multiple

times, as well as a high volume of traffic at the residence. To protect this investigation, vehicles

were not stopped, when observed coming to and from the residence but investigators observed

several of these vehicles only stopped for a short time and were found to have out-of-state

license plates. Through training and experience, your Affiant understands that the traffic

observed at the Target Residence is consistent with that of drug sales.

       16.      On January 11, 2021, Affiant and other law enforcement officers conducted a

trash pull at the Target Residence. Pursuant to this trash pull, law enforcement recovered two

spoons with a white powdery substance which field tested positive for cocaine. On January 19,

2021, law enforcement conducted a secondary trash pull at the Target Residence. Officers

recovered several clear plastic baggies with a powdery substance which field tested positive for

methamphetamine. Also located in the trash, was a white piece of paper with the name Robert

CRAWLEY written on it.

       17.      On February 1, 2021, SA David Ashley, SA Austin Roseberry and TFO Sean

Copley conducted a trash pull at 319 E. Maplewood Ave, Dayton, Ohio. During the search of the

trash, the following was found: several sandwich baggie ends with a powdery substance which

was field test and found positive for the presence of methamphetamine; and a white sheet of

paper with the name Robert CRAWLEY written on it.


                                                 8
   Case: 3:21-mj-00060-KAJ Doc #: 1 Filed: 02/17/21 Page: 10 of 18 PAGEID #: 10




        18.     Based on the foregoing, Affiant believes that WILLIAMS and CRAWLEY are

trafficking methamphetamine in southern Ohio. Affiant further concludes that, at a minimum,

CRAWLEY is using the Target Residence as a base of operations for this activity. During 2021,

law enforcement has observed foot traffic at this location consistent with the home being used a

location from which individuals store or sell drugs. Supporting that conclusion, police records

confirm an overdose occurring at that residence; based on my training and experience, Affiant

knows that drug traffickers will allow customers to sample products or use illegal controlled

substances at their stash houses, which may lead to the customer overdosing at that location.

Additionally, multiple trash pulls from the residence have recovered indicia of drug activity,

including baggies (commonly used to package and store drugs for redistribution) that field tested

positive for the presence of controlled substances.

        19.     Based on my training and experience, Affiant knows it is common practice for

drug traffickers to hide their assets, their addresses, their telephone numbers and beeper/pager

services by using other person’s names in order to avoid detection by law enforcement officials.

               a.      It is common practice for drug traffickers to often maintain residences

which are used as “stash houses” or locations for drug storage and distribution, and use

“nominees” to obtain telephone service, utility service, and other services to hide the true identity

of the owner or person who will use that service.

               b.      That drug traffickers often place assets in corporate entities in order to

avoid detection of those assets by law enforcement officials.

               c.      It is common practice, that even though these assets are in nominee names,

drug traffickers will continue to utilize these assets by exercising dominion and control over

them.



                                                  9
   Case: 3:21-mj-00060-KAJ Doc #: 1 Filed: 02/17/21 Page: 11 of 18 PAGEID #: 11




               d.      It is common practice that drug traffickers possess large amounts of U.S.

Currency in order to finance their ongoing illicit drug business.

               e.      It is common practice that drug traffickers maintain books, records,

receipts, notes, ledgers, airline tickets, money orders, and other documents relating to the

transportation and distribution of drugs. Drug traffickers commonly front (provide drugs on

consignment) to their clients. The books, records, receipts, notes, ledgers, and other documents

are kept where the drug traffickers have ready access to them.

               f.      It is common for drug traffickers to provide false information to law

enforcement officials regarding their identity and the address of their actual residence.

               g.      That persons involved in drug trafficking conceal from law enforcement in

their residences, vehicles, and businesses the following items: drugs, large amounts of currency,

financial instruments, jewelry, automobile titles, other items of value and/or proceeds of drug

transactions, and evidence of financial transactions relating to the acquisition and concealment of

large sums of money resulting from drug trafficking activities.

               h.      When drug traffickers amass large proceeds from the sale of drugs, they

attempt to hide the true source of these profits, otherwise known as laundering the money. To

accomplish this, drug traffickers many times utilize banks and/or financial institutions with their

attendant services, including but not limited to, cashier’s checks, money drafts, and letters of

credit. Other entities used to launder drug proceeds include real estate firms and purported

legitimate business fronts.

               i.      Drug traffickers commonly travel to facilitate their trafficking activities.

After purchasing drugs, traffickers commonly transport, or cause to be transported, drugs to areas




                                                 10
    Case: 3:21-mj-00060-KAJ Doc #: 1 Filed: 02/17/21 Page: 12 of 18 PAGEID #: 12




in which they will be distributed. Common methods of transportation include, but are not limited

to, commercial airlines, and rental/private automobiles.

               j.      It is common practice that drug traffickers commonly maintain books and

similar documents which reflect names, addresses, and/or telephone numbers of their associates

in the drug trafficking organization. This information can often be stored in cellular phones in

places such as the contacts list.

               k.      Drug traffickers often take, or cause to be taken, photographs of

themselves, their associates, their property and their product, and that the photographs are

usually maintained at the residences and/or businesses of drug traffickers. Photographs such as

these can commonly be found and stored in cellular phones.

               l.      Drug traffickers commonly have in their possession, (that is on their

person, at their residence, and/or their business) weapons, including firearms of various types.

Firearms are used to protect and secure a drug trafficker’s property which may include, but is not

limited to, narcotics, jewelry, narcotics paraphernalia, books, records, and U.S. Currency.

               m.      Drug traffickers frequently maintain hidden compartments within their

residence and vehicles to hide drug trafficking evidence (money, ledgers, drugs, etc.), bury

evidence in containers such as shoe boxes, or hide the evidence in safes.

               n.      The exact quantities, prices, dates, and methods of delivery of drugs are

seldom discussed in detailed terms over the telephone. These details are usually agreed upon

during face-to-face transactions. For this reason, most telephone conversations regarding drugs

are very brief and often in code, understood by the traffickers and designed to mislead or confuse

non-participants of the conversations. Drug traffickers make extensive use of cellular phones

and text messaging beepers/pagers to facilitate contacting one another. When calling a beeper or



                                                11
   Case: 3:21-mj-00060-KAJ Doc #: 1 Filed: 02/17/21 Page: 13 of 18 PAGEID #: 13




text messaging, traffickers commonly input the number that should be called and sometimes add

additional instructions in the form of additional digits. The structure of a drug distribution

organization usually consists of sources of supply, wholesale distributors, retail distributors, and

the ultimate consumers. The wholesale distributors often have more than one source of supply,

and likewise the retail distributors often obtain drugs from more than one wholesale distributor.

After receiving a quantity of drugs, the source of supply will often move the drugs to a location

other than where he/she sells them to the wholesale distributors. The location of the source of

supply’s so-called “stash house” is generally a well-guarded secret known only to the source of

supply and his closest associates. Most of the drugs, as well as diluting and packaging materials

and weighing equipment, are usually kept at the “stash house.” Only those amounts needed for

immediate sale are usually kept at the point of sale.

               o.      Drug traffickers frequently use rental vehicles for everyday travel and will

maintain another vehicle, usually at an out of sight location, to facilitate their drug trafficking

business.

               p.      Evidence of past communication between drug traffickers can be found in

saved or deleted text messages, call logs, and other forms of electronic communication occurring

over, stored in, or accessed by the cellular phone.

               q.      Affiant has repeatedly encountered a practice wherein drug traffickers

distribute a cellular telephone number to their drug customers, often described by traffickers as a

“money phone.” The money phone is used primarily to communicate with those customers. The

customers will subsequently call the trafficker on that cellular telephone number to arrange a

purchase of drugs as needed. The trafficker will many times field calls from several customers at

once, and then direct all those customers to travel in their car to a designated meeting point.



                                                  12
   Case: 3:21-mj-00060-KAJ Doc #: 1 Filed: 02/17/21 Page: 14 of 18 PAGEID #: 14




Once all the customers have driven to the designated place, the drug trafficker will appear in his

vehicle, quickly conduct hand to hand drug transactions with each customer, and then drive

away.

                                         CONCLUSION

        20.     As noted in this Affidavit, CRAWLEY and WILLIAMS have been encountered

on multiple occasions in the last year by law enforcement in which they appear to be involved

with trafficking in methamphetamine and other narcotics. During your Affiant’s investigation,

both CRAWLEY and WILLIAMS were traffic stopped in December 2020, in Miamisburg, Ohio

wherein suspected methamphetamine was recovered, and was observed to be packaged for

resale. Affiant is aware that, at this time, WILLIAMS is incarcerated in Greene County.

CRAWLEY has been observed multiple times at the Target Residence which he reports to reside

at. Further, multiple trash surveys have been conducted at the Target Residence with the last

being on February 1, 2021. Affiant noted that on each trash survey, suspected drugs and drug

paraphernalia were located and recovered. Affiant believes that CRAWLEY is still involved

with trafficking methamphetamine as well as other narcotics within the Southern District of

Ohio. Affiant believes evidence of drug trafficking will be located at the Target Residence.




                                                             __________________________
                                                             _______________________
                                                             David Ashley
                                                             Special Agent
                                                             Drug Enforcement
                                                             Administration

Sworn to via telephone after submission
by reliable electronic means on this 17th day of February, 2021.
Fed. R. Crim. P. 3, 4(d), and 4.1.


                                                13
Case: 3:21-mj-00060-KAJ Doc #: 1 Filed: 02/17/21 Page: 15 of 18 PAGEID #: 15




                                               ______________________________

                                               United States Magistrate Judge
                                               Southern District of Ohio
                                               Eastern Division




                                     14
   Case: 3:21-mj-00060-KAJ Doc #: 1 Filed: 02/17/21 Page: 16 of 18 PAGEID #: 16




                                     ATTACHMENT A

         Residence: 319 E. Maplewood Ave, Dayton, Ohio. Description: This is a 760 square foot,
two bedroom, one bath, single story residence with white siding. The residence has a small porch
in the front. Left of the front door are numbers that state “319”.




                                              15
     Case: 3:21-mj-00060-KAJ Doc #: 1 Filed: 02/17/21 Page: 17 of 18 PAGEID #: 17




                                        ATTACHMENT B

                                  PROPERTY TO BE SEIZED


        The items to be searched for and seized are evidence, contraband, fruits of crime, and
other items illegally possessed, as well as property designed for use, intended for use, relating to
violations of 21 U.S.C. §§ 846 and 841(a)(1) that have been committed by Roberty CRAWLEY
or Brandon WILLIAMS including, but not limited to:
A.      Log books, records, payment receipts, notes, and/or customer lists, ledgers, and other
        papers or electronic records relating to the transportation, ordering, purchasing, processing,
        and distribution of controlled substances.


B.      Papers, tickets, notices, credit card receipts, travel schedules, travel receipts, passports,
        and/or records, and other items relating to domestic and foreign travel to obtain and
        distribute narcotics and narcotics proceeds, including, but not limited to airline receipts,
        vehicle rental receipts, credit card receipts, travel schedules, diaries, hotel receipts, truck
        logs, travel agency vouchers, notes, records of long distance telephone calls, e-mail and
        other correspondence.

C.      Address and/or telephone books and papers reflecting names, e-mail and physical
        addresses and/or telephone numbers of individuals, partnerships, or corporations involved
        in drug trafficking and money laundering.

D.      Financial records, financial statements, receipts, statements of accounts and related bank
        records, money, drafts, letters of credit, money orders and cashier’s checks receipts,
        passbooks, bank checks, escrow documents, and other items evidencing the obtaining,
        secreting, transfer, and/or concealment of assets and the obtaining, secreting, transferring,
        concealment, and/or expenditure of money.

E.      Electronic equipment such as surveillance video and related equipment, pagers, computers,
        electronic organizers, facsimile machines, cellular telephones, caller ID, telephone
        answering machines, police scanners and two-way radios, money counters.

F.      United States currency, precious metals, coins, bullion, jewelry, and financial instruments,
        including, but not limited to stocks and bonds.

G.      Photographs and/or photographic albums or video tapes and recordings of houses and other
        real estate, automobiles, and of other assets, persons, and/or controlled substances.



                                                  16
     Case: 3:21-mj-00060-KAJ Doc #: 1 Filed: 02/17/21 Page: 18 of 18 PAGEID #: 18




H.      Indicia of occupancy, residency, and/or ownership of the premises and vehicles including,
        but not limited to utility and telephone bills, canceled envelopes, keys, deeds, tax bills,
        titles, and vehicle registrations.

I.      Contraband, such as illegal drugs and other materials, paraphernalia and/or equipment and
        tools used in the drug trade, including heat sealing equipment.

J.      Firearms and ammunition.




                                                17
